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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:02-cr-00043-MP-AK

DEMETRIUS GERMAINE KENNEDY,

      Defendant.
_________________________________/

                                           ORDER

       This matter is before the Court on Doc. 493, Defendant’s motion requesting a copy of the

United States Sentencing Guidelines worksheet used to tally his total offense level. Defendant

filed the motion on March 23, 2009. However, Defendant has already filed a notice of appeal of

this Court’s January 27, 2009, order denying his motion to reduce sentence. Because that appeal

has not yet been resolved, the Court does not have jurisdiction to consider the requested relief.

Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion at Doc. 493 is DENIED.

       DONE AND ORDERED this             2nd day of April, 2009


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
